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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


SAWARIMEDIA LLC,
DEBORAH PARKER, JUDY
KELLOGG and PAUL ELY,

             Plaintiffs,                             Case No. 4:20-CV-11246
v.                                                   Hon. Matthew F. Leitman
                                                     Mag. J. Michael J. Hluchaniuk
GRETCHEN WHITMER, Governor of
Michigan, JOCELYN BENSON,
Secretary of State of Michigan and
JONATHAN BRATER, Director of the
Michigan Bureau of Elections, in their
official capacities,

             Defendants.


PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL UNDER FEDERAL
            RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)


      Now comes Plaintiff SawariMedia LLC by counsel, and now come pro se

Plaintiffs Parker, Kellogg and Ely who have authorized undersigned counsel for

limited purposes to present this notice also on their behalf, to provide notice under

Federal Rule of Civil Procedure 41(a)(1)(A)(i) of their voluntary dismissal of this

present action, without prejudice.

      It has become evident to the Plaintiffs that the circumstances have changed,

that the State Defendants will insist upon heavily litigating this case at every level,
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and that the case will not settle on any basis that would offer Plaintiffs a realistic

chance to get their initiative on the 2020 ballot. It seems that Plaintiffs’ resources

and efforts could better be directed elsewhere.

      As of the filing of this notice on July 23, 2020, Defendants have not served

Plaintiffs with either an answer or a motion for summary judgment.

      Rule 41(a)(1)(A)(i) “provides for dismissal of an action upon the unilateral

filing of a notice of dismissal with the Clerk of Court and without the necessity of

further agreement by any other party or further order of the court.” D.C. Elecs., Inc.

v. Narton Corp., 511 F.2d 294, 296 (6th Cir. 1975). Rule 41(a)(1)(A)(i) allows

Plaintiffs to dismiss the action simply by filing “a notice of dismissal before the

opposing party serves either an answer or a motion for summary judgment.” Fed. R.

Civ. P. 41(a)(1)(A)(i).

      This Court is familiar with Rule 41(a)(1)(A)(i). See Carmack v. City of

Detroit, 2019 WL 316496, at *1 (E.D. Mich. Jan. 24, 2019) (Leitman, J.) (finding

Plaintiff entitled to dismissal even after hearings on motions to dismiss where

Defendants had not filed an answer or a motion for summary judgment). Under Sixth

Circuit precedent, Defendants’ failure to serve Plaintiffs with either an answer or

motion for summary judgment is dispositive. See Aamot v. Kassel, 1 F.3d 441, 444

(6th Cir. 1993) (the rule “means what it says” and allows “no such case-by-case

analysis of the amount of effort expended by the defendants . . . . Unless a defendant
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has filed an answer or summary judgment motion, the governing provision is rule

41(a)(1)”) (quoting Carter v. United States, 547 F.2d 258, 259 (5th Cir. 1977)); see

D.C. Elecs., Inc. v. Narton Corp., 511 F.2d 294, 296 (6th Cir. 1975) (“Although Rule

41 has been amended three times since 1948, it has not been broadened to include

other motions or pleadings which would bar a dismissal by notice.”).

      Rule 41(a)(1)(A)(i) explicitly requires an answer or a motion for summary

judgment before requiring Plaintiffs to do anything more than give this simple notice

of their voluntary dismissal without prejudice. Defendants failed to file an answer or

motion for summary judgment. Plaintiffs are entitled to dismiss their cases and

hereby do so without prejudice.

      WHEREFORE, Plaintiffs SawariMedia LLC, Debra Parker, Judy Kellogg and

Paul Ely respectfully give notice of their voluntary dismissal without prejudice of

the present action.

                                       Respectfully Submitted,

July 23, 2020                          By: /s/ Saura J. Sahu
                                       Saura J. Sahu (P69627)
                                       CLANCY ADVISORS, PLC
                                       Attorneys for Plaintiff SawariMedia LLC
                                       Saura J. Sahu (P69627)
                                       230 Nickels Arcade
                                       Ann Arbor, MI 48104
                                       (734) 780-7595
                                       sahu@clancyadvisors.com
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                              PROOF OF SERVICE

      I hereby certify that on July 23, 2020, I caused the aforementioned and

attached document to be electronically filed through the Court’s electronic CM/ECF

filing system, which will serve a copy and notice of filing on every attorney of record

for Defendants. I also caused to be served via email the following parties:

      Judy Kellogg, In Pro Per, judy kellogg95@gmail.com
      Deborah Parker, In Pro Per, alinosi@yahoo.com
      Paul Ely, In Pro Per, tlc.rgeenyard@yahoo.com

I declare under the penalty of perjury that the above statements are true to the best

of my knowledge, information, and belief.

                                        Respectfully Submitted,

July 23, 2020                           By: /s/ Saura J. Sahu
                                        Saura J. Sahu (P69627)
                                        CLANCY ADVISORS, PLC
                                        Attorneys for Plaintiff SawariMedia LLC
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